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A^199^Rev^2/^0Orde^^ettin^ConditiorisofReleas^^^^^^^^^^^^^^^^^^^^^^^^^^^USDCNH-4^8/^

                                                                                           U.S. DISTRICT COURT
                              UNITED STATES DISTRICT COlEJSffilCTOFNEWHAMPSW^
                                  District ofNew Hampshire    jy^ 27 2018
                                                                                                      FILED

         UNITED STATES OF AMERICA


                                                                      ORDER SETTING CONDITIONS
                                                                                    OF RELEASE
                               iry^^
                                                                      Case Number:         \            -1        -Q \ ^ S/V\
                       Defendant




IT IS ORDERED that the release ofthe defendant is subject to the following conditions:


[ X ] 1. The defendant shall not commit any offense in violation of federal, state, or local law while on release in this case.

[X] 2. The defendant must cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.C. §
        14135a.


[ X] 3. The defendant shall immediately advise the court, defense counsel, and the U.S. Attorney in writing before any
        change in address and telephone number.

[ X ] 4. The defendant shall appear at all proceedings as required and shall surrender for service ofany sentence imposed or
        as directed.


[ ] 5. The defendant shall appear at U.S. District Court, 55 Pleasant St., Concord, NH on
                  at               for                              and when and where as ordered by the Court.

[ ] 6. The defendant shall sign an Appearance Bond, if ordered.




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                                             Additional Conditions of Release

        Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the
defendant and the safety of other persons and the community, it is FURTHER ORDERED that the release ofthe defendant is
subject to the conditions marked below:


  □ 7. The defendant is placed in the custody of (address to be redacted from electronic version of document entered on
        CM/ECF):




                                                                         Tel:



who agrees (a) to supervise the defendant in accordance with all the conditions of release, (b) to use every effort to assure the
appearance of the defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the
defendant violates any conditions of release or disappears.

                                              Signed:
                                                        Custodian or Proxy


        8. The defendant shall:

                report on a regular basis as directed by the supervising officer,
                maintain or actively seek employment.
                refrain from possessing a firearm, destructive device, or other dangerous weapons,
                surrender any firearm(s) to Clerk, U.S. District Court, 55 Pleasant St., Concord, NH.
                surrender any passport to Clerk, U.S. District Court, 55 Pleasant St., Concord, NH.
                obtain no passport.
                submit to any method of testing required by the supervising officer for determining whether the defendant is using
           a prohibited substance. Such methods may be used with random frequency and include urine testing, the wearing of
           a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance screening or testing.
           (h) refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of
           any prohibited substance testing or electronic monitoring which is (are) required as a condition(s) of release.
           (i) meaningfully participate in and complete a program of inpatient or outpatient substance abuse therapy and
           counseling if deemed advisable by the supervising officer.
           (j) be detained until he/she can be released directly into an inpatient treatment facility. Further hearing to be held
           upon the completion of the program or upon the failure to meaningfully participate in and complete the program.
           (k) restrict travel to the State(s) of New Hampshire                                                 . Any other travel
            must be pre-approved by the supervising officer.
            (1) avoid all contact, directly or indirectly, with any persons who are or who may become a victim or potential
            witness in the subject investigation or prosecution, including but not limited to:

        □ (m) have no unsupervised contact with any minor children.
        ^ (n) refrain from [ ] any [X] excessive use of alcohol.
        □ (o) participate in the following home confinement program components and abide by all the requirements of the
            program:
            □   (1) Curfew: You are restricted to your residence every day [ ] from                         to                  ,or
                [ ] as directed by the supervising officer, or




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AO 199B (Rev. 12/11) Additional Conditions of Release Continued                                            USDCNH-40(8/12)



                                            Additional Conditions of Release

           □    (2) Home Detention: You are restricted to your residence at all times except for employment, education,
                religious services, medical, substance abuse or mental health treatment, attorney visits, court appearances,
                court-ordered obligations, or other activities as pre-approved by the supervising officer, or
           □ (3) Home Incarceration. You are restricted to your residence at all times except for medical needs or
                treatment, religious services, and court appearances pre-approved by the supervising officer.
           □ (4) the home confinement program will include electronic monitoring or other location verification system.
                You shall pay all or part of the cost of the program based upon your ability to pay as determined by the
                supervising officer.
       □   (p) refrain from use or unla\vful possession of a narcotic drug or other controlled substances defined in 21 U.S.C. §
           802, unless prescribed by a licensed medical practitioner.
       □   (q) participate in a mental health program which shall include medical, psychological, or psychiatric treatment as
           directed by the supervising officer.
       □   (r) execute a bond or an agreement to forfeit upon failing to appear as required, the following sum of money or
           designated property:                                                                                                .
       □   (s) post with the court the following indicia of ownership of the above-described property, or the following amount
           or percentage of the above-described money:                                                      .
       □   (t) execute a bail bond with solvent sureties in the amount of $                                          .
       □   (u) maintain or commence an education program.
       □   (v) maintain residence at a halfway house or community corrections center, as deemed necessary by the
           supervising officer.
      ^ (w) report as soon as possible, to the supervising officer any contact with any law enforcement personnel,
         including, but not limited to, any arrest, questioning, or traffic stop.
       □ (x) comply with the following residential requirements or restrictions                                                  .
       □ (y) comply with the following employment requirements or restrictions                                               .
       □ (z) Other:




                                              Special Conditions of Release

    9. □ (a) participate in the following computer restriction or monitoring program:
         □ (i) refrain from the possession or use of a computer or any internet capable device.
         □ (ii) no access to the internet, and submit to the search of any computer owned or under the control of the
                defendant.
           □ (iii) allow computer monitoring software or hardware to be installed on your computer which will be subject to
             periodic and unannounced examination by the supervising officer. These examinations may include retrieval
             and copying of data related to online use from the computer equipment and                       any internal or
             external peripheral devices. The defendant shall pay for the cost associated with the monitoring program.
       □ (b) submit to search of person/residence/vehicle or office as requested by the supervising officer to determine
         whether you are in compliance with the conditions of release.
       □ (c) participate in a sex offender-specific assessment as directed by the supervising officer.
       □ (d) participate in sex offender-specific treatment as directed by the supervising officer.
      ^^(e) provide access to any requested financial information as requested by the supervising officer.
      '□ (0 do not incur any new credit charges or open any new lines of credit without pre-approval of the supervising
           officer.
       □ (g) return to custody each (week)day as of                            after being released each (week)day as of
                                                          for employment, schooling or the following limited purpose(s)

       ^ (h) Other:
               T?V71C?U1^


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AO 199C(Rev. 09/08) Advice ofPenalties and Sanctions                                                         USDCNH-40(8/12)



                                             Advice of Penalties and Sanctions

TO THE DEFENDANT:
       YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:
      A violation ofany ofthe foregoing conditions ofrelease may result in the immediate issuance ofa warrant for your arrest,
a revocation of release, an order ofdetention, and a prosecution for contempt ofcourt and could result in a term of
imprisonment, a fine, or both.
     The commission ofa federal offense while on pre-trial release will result in an additional sentence ofa term of
imprisonment of not more than ten years, ifthe offense is a felony, or a term of imprisonment ofnot more than one year, ifthe
offense is a misdemeanor. This sentence shall be in addition to any other sentence.
     Federal law makes it a crime punishable by up to 10 years of imprisonment or a $250,000 fine or both to obstruct a
criminal investigation. It is a crime punishable by up to 10 years ofimprisonment and a $250,000 fine or both to tamper with a
witness, victim, or informant; to retaliate or attempt to retaliate against a witness, victim, or informant; or to intimidate or
attempt to intimidate a witness, victim,juror, informant, or officer ofthe court. The penalties for tampering, retaliation, or
intimidation are significantly more serious ifthey involve a killing or attempted killing.

     If after release you knowingly fail to appear as required by the conditions of release, or to surrender for the service of
sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are
convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term offifteen years or more, you shall be
            fined not more than $250,000 or imprisoned for not more than ten years, or both;
       (2) on offense punishable by imprisonment for a term offive years or more, but less than fifteen years, you shall be fined
            not more than $250,000 or imprisoned for not more than five years, or both;
     (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
     (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
     A term ofimprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other
offense. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                              Acknowledgment of Defendant
       I acknowledge that I am the defendant in this case and that I am aware ofthe conjjition$~6frelease. I promise to obey all
conditions of release, to appear as directed, and to surrender for service of any s^nt^nce imposed. I am aware ofthe penalties
and sanctioiv set fo$h above.



Date  :1
                                                        Signature o


                                              Directions to United States Marshal
           The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk orjudge that the
           defendant has posted bond and/or complied with all other conditions for release. The defendant shall be produced
           before the appropriate judge at the time and place specified, if still in custody.

           The defendant is ORDERED released after processing.


Date:
                       )^~7j2jDI^
                                                                         United States Magistrate Judge
                                                                   □     United States District Judge
cc:        Defendant
           U.S. Attorney
           U.S. Marshal
           U.S. Probation
           Defense Counsel

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